 UNITED STATES DISTRICT COURT
 MIDDLE DISTRICT OF TENNESSEE
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 In re:

 AREDIA and ZOMETA                                                   No. 3:06-MD-1760
 PRODUCTS LIABILITY LITIGATION                                       JUDGE CAMPBELL
 (MDL No. 1760)                                                   MAGISTRATE JUDGE ROWN


 This Documents Relates to: All Cases
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                       PLAINTIFFS’ MEMORANDUM IN SUPPORT
                      OF DIRECT FILING OF ACTIONS IN THE MDL

          Plaintiffs submit their memorandum in support of direct filing of actions in the

 MDL pursuant to the court’s request during the June 29, 2006 case management

 conference. Also, pursuant to the court’s request, a copy of the Order addressing this

 issue in the Vioxx MDL is attached hereto as Exhibit A. Admittedly, the direct filing
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 ordered by Judge Fallon was by agreement , but defendant’s opposition to direct filing of

 actions in this MDL places form over substance. Venue of virtually every action that has

 been filed or will be filed against Novartis with regard to Aredia and Zometa properly

 lies in this district and can be filed here. The question, therefore, is not really whether the

 court will permit direct filing in the MDL, but whether the court will permit plaintiffs

 who desire trials in other districts to file initially in this district for purposes of the MDL

 without prejudice to seeking transfer to a different court for trial. The court should

 permit such filings.



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  The agreement was simply that Merck would not object to venue with respect to any cases filed in that
 district which were to be part of the MDL with the understanding that the case would be transferred
 pursuant to 28 U.S.C. 1404(a) to a court with venue for trial. That agreement is irrelevant here as venue is
 proper in this court.




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                                       ARGUMENT

        Defendant’s position on this issue attempts to improperly equate proper venue

 with plaintiffs’ connections to the district in which the action is filed. In fact, the

 plaintiffs’ residence or connections to any particular district have no bearing on venue.

 Venue is concerned with the residence of the defendant or the location of the occurrence

 of the events giving rise to the claim. See 28 U.S.C. §1391(a). Further, a corporate

 defendant is deemed to reside in any judicial district in which it is subject to personal

 jurisdiction at the time the action is commenced. See 28 U.S.C. §1391(c). Novartis is

 subject to personal jurisdiction in the Middle District of Tennessee. Novartis has not

 contested this issue. Accordingly, venue properly lies in this district for any plaintiff

 anywhere who seeks to sue Novartis for the manufacture and sale of defective and/or

 unreasonably dangerous drugs. Because venue is appropriate in this district for virtually

 any plaintiff who seeks to sue Novartis in connection with Aredia and/or Zometa, it

 would be wholly inappropriate for this court to disallow filing of actions directly in this

 court for purposes of the MDL.

        Defendant’s reliance on In Re: Lexecon, Inc. v. Milberg Weiss Bershad Hynes

 and Lerach, 523 U.S. 26, 118 S.Ct. 956, 140 L.Ed. 2d, 62 (1998) for the contrary position

 is misplaced. Lexecon holds only that the transferee court in multi-district litigation

 proceedings has no authority to transfer a case to itself for trial pursuant to 28 U.S.C.

 §1404(a). Direct filing of actions in the MDL was not at issue in that case. Moreover,

 courts routinely implement methods to avoid the transfer power limitation announced in

 Lexecon.




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        Indeed, The Manual for Complex Litigation, Fourth, 2005 recognizes and

 discusses “evolving alternatives. . . [which] permit the transferee court to resolve

 multidistrict litigation through trial while remaining faithful to the Lexecon limitations. .

 .” Id. at §20.132, p. 246. Among the alternatives discussed are dismissal of the original

 action and subsequent refiling in the transferee district if venue lies there or filing of an

 amended complaint asserting venue in the transferee district. Another alternative is

 transfer back to the transferee court by the original court pursuant to 28 U.S.C. §1404(a)

 after remand by the Panel on Multidistrict Litigation at the recommendation of the

 transferee court in its suggestion of remand to the Panel.

        According to The Manual, prior to the Lexecon decision in 1998, most cases

 transferred pursuant to 28 U.S.C. §1407 remained in the transferee district for trial. Id.

 The policy reasons for the pre-Lexecon practice centered upon the transferee judge’s

 understanding of the case, the efficiencies of adjudicating related actions or portions

 thereof in one trial and the potential of the transferee judge having a greater ability to

 facilitate a global settlement. Id. The Manual also notes that despite the Supreme

 Court’s decision in Lexecon, these pre-Lexecon policy reasons remain sound and justify

 the various alternatives that have been evolving to avoid the Lexecon limitations. Thus,

 Lexecon reflects a statutory construction that courts routinely elide when the interests of

 justice so require and the only objections appear to be in aid of increasing costs and

 expense in litigation. In the case at bar, where most plaintiffs are cancer patients, there

 would be great harm to their interests in causing unnecessary delay and expense to the

 process required to file their claims and present them to this Court.




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        If the factors that justify a trial of transferred actions in the transferee court prevail

 in this action, direct filing here will allow those trials to go forward with no further

 action. On the other hand, if transfer is appropriate, this court could transfer any action

 filed directly into the MDL to any district court in which it might originally have been

 filed pursuant to 28 U.S.C. §1404(a) at the conclusion of pre-trial proceedings. See e.g.,

 Altamont Pharmacy, Inc., v. Abbott Laboratories, 2002 WL 694495 (N.D. Ill. 2002)

 (unpublished – copy attached as Exhibit B). The Plaintiffs acknowledge that this

 procedure will not use the MDL panel in precisely the manner normally contemplated.

 Plaintiffs maintain, however, that there is nothing inappropriate in doing so. Indeed,

 direct filing in this district will eliminate any limitation on this court’s power to transfer

 the actions to appropriate courts under 28 U.S.C. §1404 as delineated by the Supreme

 Court in Lexecon and also eliminate “the increased time and burden to the court

 associated with resolving motions to transfer pursuant to 28 U.S.C. §1404(a) after

 remand back. . . .” See Defendant’s memorandum at p. 4 (emphasis in original). Finally,

 an order that direct filing here will not prejudice plaintiffs from seeking a transfer will

 facilitate at least one facet underlying Lexecon; namely, that a plaintiffs’ choice of forum

 cannot be overridden by transfer for purposes of multidistrict litigation.

                                       CONCLUSION

        Direct filing in this court without prejudice to the parties’ ability to seek a transfer

 will allow this court to try any actions deemed triable in this court without the charade of

 suggestion of remand with a recommendation to the transferor court to transfer the action

 back to this court for trial. Direct filing in this court without prejudice to the parties’

 ability to seek a subsequent transfer will also allow this court to transfer for trial any




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 action in which transfer is deemed appropriate to any court in which the action could

 have originally been filed. This will eliminate the delay associated initially with transfer

 of the action to this court through the Panel on Multidistrict Litigation and eliminate

 delay associated with resolution of motions under 28 U.S.C. Section 1404(a) after

 remand of the action to the transferor court. Accordingly, direct filing of actions in the

 MDL without prejudice to the parties seeking a subsequent transfer should be permitted.



                                              Respectfully submitted,

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         I hereby certify that I have on this 13th day of July, 2006, served a true and
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